Case 9:07-cv-00480-LEK-DEP       Document 77   Filed 07/15/09   Page 1 of 33




             IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF NEW YORK
 ____________________________________

 NATHAN BROWN,

                         Plaintiff,
                                                   Civil Action No.
                                                   9:07-CV-0480 (LEK/DEP)
       vs.

 DALE ARTUS, et al.,

                   Defendants.
 ____________________________________

 APPEARANCES:                            OF COUNSEL:

 FOR PLAINTIFF:

 Nathan Brown, Pro Se
 90-A-3219
 Clinton Correctional Facility
 P.O. Box 2001
 Dannemora, NY 12929

 FOR DEFENDANTS:

 HON. ANDREW M. CUOMO                     CHRISTINA ROBERTS-RYBA, ESQ.
 New York State Attorney General          JUSTIN C. LEVIN, ESQ.
 The Capitol                              Assistant Attorneys General
 Albany, NY 12224

 DAVID E. PEEBLES
 U.S. MAGISTRATE JUDGE

                    REPORT AND RECOMMENDATION

       Plaintiff Nathan Brown, a New York State prison inmate who is
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 2 of 33




 proceeding pro se and in forma pauperis, commenced this action pursuant

 to 42 U.S.C. § 1983, alleging deprivation of his civil rights. In his

 complaint plaintiff asserts claims of retaliation and cruel and unusual

 punishment arising from his incarceration, based upon events alleged to

 have occurred on March 26, 2007, naming as defendants several

 employees of the New York State Department of Correctional Services

 (“DOCS”), including the superintendent and former deputy superintendent

 of the prison facility in which he was housed at the relevant times, and

 requests both monetary and declaratory relief.

       Currently before the court is a motion by defendants Dale Artus and

 R.J. Minogue for partial summary judgment dismissing plaintiff’s claims

 against them. In their motion, those defendants maintain that the record

 fails to support plaintiff’s claims of retaliation against them or demonstrate

 their personal involvement in the conduct giving rise to Brown’s Eighth

 Amendment violation, and, in any event, that they are protected from suit

 based upon qualified immunity. Plaintiff has opposed defendants’ motion,

 and additionally has cross-moved for sanctions stemming from an alleged

 violation of Rule 11 of the Federal Rules of Civil Procedure. For the

 reasons set forth below, I recommend that defendants’ motion for


                                        2
Case 9:07-cv-00480-LEK-DEP        Document 77      Filed 07/15/09    Page 3 of 33




 summary judgment be granted in part, but otherwise denied, and that

 plaintiff’s motion for sanctions be denied.

 I.    BACKGROUND1

        Plaintiff is a prison inmate entrusted to the care and custody of the

 DOCS. At the time of the events detailed in his amended complaint,

 plaintiff was designated to the Clinton Correctional Facility (“Clinton”),

 located in Dannemora, New York. Amended Complaint (Dkt. No. 45) ¶ 2.

 Plaintiff’s incarceration results from a 1990 murder conviction, for which

 he was sentenced to a term twenty-five years to life. Levin Decl. (Dkt. No.

 67-4) Exh. B.

        On March 24, 2007, while at Clinton, plaintiff was issued a

 misbehavior report by Corrections Officer G. LaBonte accusing him of

 refusing to obey a direct order, failure to maintain clean quarters, and

 interference with staff. Levin (Dkt. No. 67-4) Exh. C. That disciplinary

 report resulted from plaintiff’s failure to obey a direct order to clean his cell

 bars. See id. A Tier II disciplinary hearing was convened on March 28,



       1
               In light of the procedural posture of the case the following recitation is
 derived from the record now before the court, with all inferences drawn and
 ambiguities resolved in favor of the plaintiff. See Burtnieks v. City of New York, 716
 F.3d 982, 985-86 (2d Cir. 1983) (citations omitted). It should be noted, however, that
 many if not most of plaintiff’s allegations are sharply contested by the defendants.
                                             3
Case 9:07-cv-00480-LEK-DEP         Document 77      Filed 07/15/09     Page 4 of 33




 2007 to address the charges and, due to his refusal to attend, was held in

 plaintiff’s absence by Hearing Officer John Miller.2 Id. At the close of the

 proceedings the hearing officer found plaintiff guilty of refusing to obey a

 direct order and failure to maintain clean quarters, imposing a penalty

 which included thirty days of keeplock confinement with a corresponding

 loss of telephone, package, and commissary privileges.3 Id.

        On the same day that Corrections Officer LaBonte issued plaintiff a

 misbehavior report, Brown authored a letter to defendant L. Turner, the


        2
                The DOCS conducts three types of inmate disciplinary hearings. Tier I
 hearings address the least serious infractions, and can result in minor punishments
 such as the loss of recreation privileges. Tier II hearings involve more serious
 infractions, and can result in penalties which include confinement for a period of time
 in the Special Housing Unit (SHU). Tier III hearings concern the most serious
 violations, and could result in unlimited SHU confinement and the loss of “good time”
 credits. See Hynes v. Squillace, 143 F.3d 653, 655 (2d Cir. 1998), cert. denied, 525
 U.S. 907, 119 S. Ct. 246 (1998).
        3
                 Keeplock is a form of confinement restricting an inmate to his or her cell,
 separating the inmate from others, and depriving him or her of participation in normal
 prison activities. Gittens v. LeFevre, 891 F.2d 38, 39 (2d Cir. 1989); Warburton v.
 Goord, 14 F. Supp. 2d 289, 293 (W.D.N.Y. 1998) (citing Gittens); Tinsley v. Greene,
 No. 95-CV-1765, 1997 WL 160124, at *2 n.2 (N.D.N.Y. Mar. 31, 1997) (Pooler, D.J. &
 Homer, M.J.) (citing, inter alia, Green v. Bauvi, 46 F.3d 189, 192 (2d Cir. 1995)).
 Inmate conditions while keeplocked are substantially the same as in the general
 population. Lee v. Coughlin, 26 F. Supp. 2d 615, 628 (S.D.N.Y. 1998). While on
 keeplock confinement an inmate is confined to his or her general population cell for
 twenty-three hours a day, with one hour for exercise. Id. Keeplocked inmates can
 leave their cells for showers, visits, medical exams and counseling, and can have cell
 study, books and periodicals, Id. The primary difference between keeplock and the
 general population confinement conditions is that keeplocked inmates do not leave
 their cells for out-of-cell programs, and are usually allowed less time out of their cells
 on the weekends. Id.


                                              4
Case 9:07-cv-00480-LEK-DEP     Document 77     Filed 07/15/09   Page 5 of 33




 Deputy Superintendent for Programs at Clinton, accusing LaBonte of

 sexual misconduct. Levin Decl. (Dkt. No. 67-4) Exh. D; Amended

 Complaint (Dkt. No. 45) ¶ 9. That letter, though dated March 24, 2007,

 was forwarded by plaintiff to prison officials two days later, and was

 stamped as “received” on March 26, 2007. See id.

       On the day on the letter complaining of Corrections Officer

 LaBonte’s actions was sent by Brown and received by defendant Turner’s

 office, plaintiff was escorted to an office within the Upper F Block at

 Clinton, where he was placed in mechanical restraints by defendants

 Beeman and Corrigan, and thereafter beaten by those two individuals, in

 concert with Corrections Sergeant Darryl Menard. Amended Complaint

 (Dkt. No. 45) ¶ 10. During the course of the assault one of the corrections

 workers, defendant Beeman, brandished a knife and threatened to stab

 the plaintiff if he filed any further grievances. Id.

       Plaintiff wrote to Clinton Superintendent Dale Artus on April 3, 2007,

 complaining of the assault. Levin Decl. (Dkt. No. 67-4) Exh. F. As result

 of that complaint, plaintiff was examined by medical professionals at the

 facility on April 5, 2007, and photographs were taken to determine the

 extent of any physical injuries suffered. See Levin Decl. (Dkt. No. 67-4)


                                         5
Case 9:07-cv-00480-LEK-DEP        Document 77      Filed 07/15/09    Page 6 of 33




 Exh. G, H. An investigation conducted with respect to the incident

 resulted in the issuance of a memorandum dated April 9, 2007, in which

 defendant Minogue, a corrections captain, concluded that plaintiff’s

 complaint was without merit.4 Levin Decl. (Dkt. No. 67-4) Exh. I.

 II.    PROCEDURAL HISTORY

        Plaintiff commenced this action on May 3, 2007, Dkt. No. 1, and

 later amended his complaint, with court approval, see Dkt. No. 35, on

 June 11, 2008. Dkt. No. 45. Named as defendants in plaintiff’s amended

 complaint are Dale Artus, the superintendent at Clinton; Linda Turner, a

 former deputy superintendent of program services at the facility; R.J.

 Minogue, a former corrections captain at the facility; Darryl Menard, a

 corrections sergeant at Clinton; and Keith Beeman and Geri Corrigan, two

 corrections officers at the prison. Id. Plaintiff’s amended complaint

 asserts two causes of action, one alleging unlawful retaliation in

 contravention of the First Amendment, and the second asserting that he

 was subjected to cruel and unusual punishment in violation of the Eighth


       4
                Dissatisfied with the results of the first investigation, on April 11, 2007
 plaintiff authored another institutional complaint concerning the matter to the DOCS
 commissioner. Levin Decl (Dkt. No. 67-4) Exh. J. After apparently having been
 informed for a second time that his complaint was found to be unsubstantiated, plaintiff
 sent Superintendent Artus a second letter, dated April 23, 2007, laced with profanity.
 Levin Decl. (Dkt. No. 67-4) Exh. K.
                                             6
Case 9:07-cv-00480-LEK-DEP         Document 77      Filed 07/15/09    Page 7 of 33




 Amendment. Id.

        Following joinder of issue and the close of discovery, defendants

 Artus and Minogue moved for partial summary judgment pursuant to Rule

 56 of the Federal Rules of Civil Procedure dismissing plaintiff’s claims

 against them. Dkt. No. 67. In their motion those defendants argue that 1)

 the record fails to establish that they took action toward Brown in

 retaliation for his having engaged in protected activity ; 2) they were not

 personally involved in any potential Eighth Amendment violation; and 3) in

 any event, they are shielded from suit by the doctrine of qualified

 immunity. Plaintiff’s opposition to defendants’ motion was received by the

 court on February 9, 2009. Dkt. No. 68.

        On May 8, 2009, plaintiff moved for sanctions, asserting that

 defendant Artus violated Rule 11 of the Federal Rules of Civil Procedure,

 by submitting an affidavit in direct conflict with evidence submitted by

 plaintiff.5 Dkt. No. 72. Defendants have since responded in opposition to

 plaintiff’s motion, Dkt. No. 75, and plaintiff has now replied to defendants’

 submission. Dkt. No. 76.


        5
               Plaintiff has been an active participant in the litigation process throughout
 the course of this action. The docket sheet reflects, for example, his filing of some
 seven motions to compel discovery, as well as at least one prior request for issuance
 of sanctions. See Dkt. Nos. 16, 21, 23, 24, 38, 55, 57, 61.

                                              7
Case 9:07-cv-00480-LEK-DEP       Document 77      Filed 07/15/09   Page 8 of 33




        Both motions currently before the court are ripe for determination,

 and have been referred to me for the issuance of a report and

 recommendation to the assigned district judge, pursuant to 28 U.S.C. §

 636(b)(1)(B) and Northern District of New York Local Rule 72.3(c).6 See

 also Fed. R. Civ. P. 72(b).

 III.   DISCUSSION

        A.    Summary Judgment Standard

        Summary judgment motions are governed by Rule 56 of the Federal

 Rules of Civil Procedure. Under that provision, summary judgment is

 warranted when “the pleadings, the discovery and disclosure materials on

 file, and any affidavits show that there is no genuine issue as to any

 material fact and that the movant is entitled to judgment as a matter of

 law.” Fed. R. Civ. P. 56(c); see Celotex Corp. v. Catrett, 477 U.S. 317,

 322, 106 S. Ct. 2548, 2552 (1986); Anderson v. Liberty Lobby, Inc., 477

 U.S. 242, 247, 106 S. Ct. 2505, 2509-10 (1986); Security Ins. Co. of

 Hartford v. Old Dominion Freight Line, Inc., 391 F.3d 77, 82-83 (2d Cir.

 2004). A fact is “material”, for purposes of this inquiry, if it “might affect


        6
              While plaintiff’s motion for sanctions may fall within my jurisdiction,
 depending upon the contemplated disposition, in light of the pendency of a dispositive
 motion I have formatted my ruling as a report and recommendation addressing all
 issues now before the court.
                                            8
Case 9:07-cv-00480-LEK-DEP     Document 77    Filed 07/15/09   Page 9 of 33




 the outcome of the suit under the governing law.” Anderson, 477 U.S. at

 248, 106 S. Ct. at 2510; see also Jeffreys v. City of New York, 426 F.3d

 549, 553 (2d Cir. 2005) (citing Anderson, 477 U.S. at 247, 106 S.Ct. at

 2509-10). A material fact is genuinely in dispute “if the evidence is such

 that a reasonable jury could return a verdict for the nonmoving party.”

 Anderson, 477 U.S. at 248, 106 S. Ct. at 2510.

       A party seeking summary judgment bears the initial burden of

 demonstrating that there is no genuine dispute of material fact to be

 decided with respect to any essential element of the claim in issue; the

 failure to meet this burden warrants denial of the motion. Anderson, 477

 U.S. at 250 n.4, 106 S. Ct. at 2511 n.4; Security Ins., 391 F.3d at 83. In

 the event this initial burden is met, the opposing party must show, through

 affidavits or otherwise, that there is a material issue of fact for trial. Fed.

 R. Civ. P. 56(e); Celotex, 477 U.S. at 324, 106 S. Ct. at 2553; Anderson,

 477 U.S. at 250, 106 S. Ct. at 2511. Though pro se plaintiffs are entitled

 to special latitude when defending against summary judgment motions, to

 successfully resist the entry of summary judgment they must establish

 more than mere “metaphysical doubt as to the material facts.” Matsushita

 Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct.


                                         9
Case 9:07-cv-00480-LEK-DEP   Document 77      Filed 07/15/09   Page 10 of 33




 1348, 1356 (1986); but see Vital v. Interfaith Med. Ctr., 168 F.3d 615, 620-

 21 (2d Cir. 1999) (noting obligation of court to consider whether pro se

 plaintiff understood nature of summary judgment process). When

 deciding a summary judgment motion, a court must resolve any

 ambiguities and draw all inferences from the facts in a light most favorable

 to the nonmoving party. Jeffreys, 426 F.3d at 553; Wright v. Coughlin,

 132 F.3d 133, 137-38 (2d Cir. 1998). The entry of summary judgment is

 warranted only in the event of a finding that no reasonable trier of fact

 could rule in favor of the non-moving party. See Building Trades

 Employers’ Educ. Ass’n v. McGowan, 311 F.3d 501, 507-08 (2d Cir. 2002)

 (citation omitted); see also Anderson, 477 U.S. at 250, 106 S. Ct. at 2511

 (summary judgment is appropriate only when “there can be but one

 reasonable conclusion as to the verdict”).

       B.    Plaintiff’s Failure to Properly Respond to Defendants’ Motion

       As an initial matter, defendants point out that despite service with

 their motion papers of a notice pursuant to Local Rule 56.2, informing him

 of the consequences of such a failure, plaintiff has failed to include within

 his opposition a response to defendants’ statement of material facts not in

 issue, filed pursuant to N.D.N.Y.L.R. 7.1(a)(3). Before turning to the


                                       10
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 11 of 33




 merits of plaintiff’s claims, a threshold issue to be addressed is the legal

 significance, if any, of his failure to properly respond to defendants’ Rule

 7.1(a)(3) Statement, and specifically whether that failure requires the court

 to deem all facts not specifically controverted by Brown to be true.

       This court’s rules provide that when responding to a properly filed

 summary judgment motion,

       [t]he opposing party shall file a response to the Statement of
       Material Facts. The non-movant’s response shall mirror the
       movant’s Statement of Material Facts by admitting and/or denying
       each of the movant’s assertions in matching numbered
       paragraphs... The Court shall deem admitted any facts set forth in
       the Statement of Material Facts that the opposing party does not
       specifically controvert.

 N.D.N.Y.L.R. 7.1(a)(3) (Emphasis in original). Despite the compulsory

 tenor of the rule, mandating that facts are not properly controverted be

 deemed admitted, it should be noted that pro se plaintiffs are entitled to

 special latitude when defending against summary judgment motions. See

 Jemzura v. Public Serv. Comm’n, 961 F. Supp. 406, 415 (N.D.N.Y. 1997)

 (McAvoy, C.J.)).; Johnson v. Tedford, No. 04-CV-632 (GLS/DEP), 2007

 WL 4118284, at *2 (N.D.N.Y. Nov. 16, 2007) (Sharpe, J.). Further, “[a]

 district court has broad discretion to determine whether to overlook a

 party’s failure to comply with local rules.” D.H. Blair & Co., Inc. v.


                                        11
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 12 of 33




 Gottdiener, 462 F.3d 95, 109, n.2 (2d Cir. 2006) (quoting Holtz v.

 Rockefeller & Co., Inc., 258 F.3d 62, 73 (2d Cir. 2001)).

       Plaintiff responded to defendants’ summary judgment motion on

 February 9, 2009 (Dkt. No. 68), and attempted to include within it a

 response to defendants’ statement of material facts. Although plaintiff’s

 paragraphs do not mirror those of defendants, it is fairly clear from his

 opposition motion and amended complaint what facts are contested.

 Based on the broad discretion afforded to the court, and in deference to

 his pro se status, I find that plaintiff’s Local Rule 7.1(a)(3) response is

 adequate to show the existence of certain factual disputes. See Holtz,

 258 F.3d at 73; Cruz v. Church, No. 05-CV-1067 (GTS/DEP), 2008 WL

 4891165, at *3-4 (N.D.N.Y. Nov. 10, 2008) (Suddaby, J.).

       C.    Retaliation

       In their motion, defendants Artus and Minogue first argue that the

 record fails to substantiate their involvement in any alleged retaliation

 stemming from plaintiff’s filing of a grievance against Corrections Officer

 LaBonte.

       When adverse action is taken by prison officials against an inmate,

 motivated by the inmate’s exercise of a right protected under the


                                        12
Case 9:07-cv-00480-LEK-DEP     Document 77    Filed 07/15/09   Page 13 of 33




 Constitution, including the free speech provisions of the First Amendment,

 a cognizable retaliation claim under 42 U.S.C. § 1983 lies. See Franco v.

 Kelly, 854 F.2d 584, 588-90 (2d Cir. 1988). As the Second Circuit has

 repeatedly cautioned, however, such claims are easily incanted and

 inmates often attribute adverse action, including the issuance of

 misbehavior reports, to retaliatory animus; courts must therefore approach

 such claims “with skepticism and particular care.” Dawes v. Walker, 239

 F.3d 489, 491 (2d Cir. 2001), overruled on other grounds, Swierkiewicz v.

 Sorema, N.A., 534 U.S. 506, 122 S. Ct. 992 (2002) (citing Flaherty v.

 Coughlin, 713 F.2d 10, 13 (2d Cir. 1983); Davis v. Goord, 320 F.3d 346,

 352 (2d Cir. 2003).

       In order to state a prima facie claim under section 1983 for

 retaliatory conduct, a plaintiff must advance non-conclusory allegations

 establishing that 1) the conduct at issue was protected; 2) the defendants

 took adverse action against the plaintiff; and 3) there was a causal

 connection between the protected activity and the adverse action – in

 other words, that the protected conduct was a substantial or motivating

 factor in the prison officials’ decision to take action against the plaintiff.

 Mount Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 287,


                                         13
Case 9:07-cv-00480-LEK-DEP    Document 77   Filed 07/15/09   Page 14 of 33




 97 S. Ct. 568, 576 (1977); Dillon v. Morano, 497 F.3d 247, 251 (2d Cir.

 2007); Dawes, 239 F.3d at 492. If the plaintiff carries this burden, then to

 avoid liability the defendants must show by a preponderance of the

 evidence that they would have taken action against the plaintiff “even in

 the absence of the protected conduct.” Mount Healthy, 429 U.S. at 287,

 97 S. Ct. at 576. If taken for both proper and improper reasons, state

 action may be upheld if the action would have been taken based on the

 proper reasons alone. Graham v. Henderson, 89 F.3d 75, 79 (2d Cir.

 1996) (citations omitted).

       Personal involvement of a named defendant in any alleged

 constitutional deprivation is a prerequisite to an award of damages against

 that individual under section 1983. Wright v. Smith, 21 F.3d 496, 501 (2d

 Cir. 1994) (citing Moffitt v. Town of Brookfield, 950 F.2d 880, 885 (2d Cir.

 1991) and McKinnon v. Patterson, 568 F.2d 930, 934 (2d Cir. 1977), cert.

 denied, 434 U.S. 1087, 98 S. Ct. 1282 (1978)). In order to prevail on a

 section 1983 cause of action against an individual, a plaintiff must show

 some tangible connection between the constitutional violation alleged and

 that particular defendant. See Bass v. Jackson, 790 F.2d 260, 263 (2d

 Cir. 1986). As is true of other types of claims, this principle applies to


                                       14
Case 9:07-cv-00480-LEK-DEP        Document 77       Filed 07/15/09    Page 15 of 33




 causes of action claiming unlawful retaliation. See Abascal v. Hilton, No.

 04-CV-1401, 2008 WL 268366, at *10 (N.D.N.Y. Jan. 30, 2008) (Kahn,

 D.J. and Lowe, M.J.).

        Plaintiff’s retaliation claim in this action centers upon the beating

 allegedly administered by defendants Menard, Corrigan and Beeman, an

 incident which he attributes to retaliatory animus for his having lodged a

 complaint against Corrections Officer LaBonte.7 The record is somewhat

 lacking in evidence of participation by defendants Artus and Menard in the

 alleged use of force against the plaintiff. Both defendants Artus and

 Minogue have given declarations in which they deny having ordered

 anyone to assault the plaintiff, or having engaged in any conspiracy or

 plan to retaliate against Brown. Artus Decl. (Dkt. No. 67-6) ¶¶ 26, 33;

 Minogue Decl. (Dkt. No. 67-7) ¶¶ 25, 32.

        While the allegations in plaintiff’s complaint that defendant Minogue

 was covering up sexual misconduct are undeniably conclusory, plaintiff

 testified during his deposition that defendant Menard stated to him he had

        7
          Plaintiff claims that defendant Minogue lied during the course of an Inspector
 General’s investigation of Brown’s sexual misconduct complaint, in addition to
 sanctioning the assault on him. Amended Complaint (Dkt. No. 45) ¶ 15. The
 allegation that defendant Minogue lied during that investigation – an allegation that he
 vehemently denies, see Minogue Decl. (Dkt. No. 67-7) ¶¶ 23-25, - is insufficient to
 qualify as adverse action for purposes of plaintiff’s retaliation claim. Davis, 320 F.3d. at
 353.
                                              15
Case 9:07-cv-00480-LEK-DEP   Document 77     Filed 07/15/09   Page 16 of 33




 been sent by Minogue to plaintiff’s cell to attack him as a result of the

 grievance mailed by plaintiff earlier that day. Levin Decl. (Dkt. No. 67-4)

 Exh. A. at p. 27. Drawing all inferences in favor of plaintiff, though scant,

 this allegation suffices to establish a genuine issue of material fact as to

 whether Minogue did in fact encourage or solicit Menard to assault plaintiff

 in return for having filed a grievance against Corrections Officer LaBonte,

 and on this basis I recommend that defendants’ motion for partial

 summary judgment relating to defendant Minogue be denied.

       In contrast, notwithstanding sheer speculation on plaintiff’s part, the

 record is wholly devoid of evidence of defendant Artus’ personal

 involvement in the alleged retaliation. In the face of his express denial of

 knowledge or responsibility, plaintiff’s conclusory allegations to the effect

 that defendant Artus “sanctioned, ratified, condoned and participated” in

 the assault are insufficient to raise an issue of fact and to avoid summary

 judgment. See Poe v. Leonard, 282 F.3d 123, 140 (2d Cir. 2002); Russo

 v. City of Bridgeport, 479 F.3d 196, 210-11 (2d Cir. 2007), cert. denied,

 128 S. Ct. 109 (2007).

       D.    Eighth Amendment

       Plaintiff claims that by being assaulted and choked into


                                       16
Case 9:07-cv-00480-LEK-DEP   Document 77   Filed 07/15/09   Page 17 of 33




 unconsciousness, he suffered cruel and unusual punishment in violation

 of the Eighth Amendment. As with plaintiff’s retaliation claim, defendants

 Artus and Minogue also seek dismissal of this claim as against them on

 the ground that the record lacks of proof of their personal involvement.

       The Constitution imposes a duty upon the State to assume some

 responsibility for an inmate’s safety and general well being. Helling v.

 McKinney, 509 U.S. 25, 32, 113 S. Ct. 2475, 2480 (1993) (citing

 DeShaney v. Winnebago County Dep’t of Soc. Services, 489 U.S. 189,

 199-200, 109 S. Ct. 998, 1005-06 (1989)). The Eighth Amendment bans

 cruel and unusual punishment, and is applicable to the States through the

 Due Process Clause of the Fourteenth Amendment. Robinson v.

 California, 370 U.S. 660, 675, 82 S. Ct. 1417, 1425 (1962). The scope of

 protection afforded by meaning of the Eighth Amendment must be drawn

 “from the evolving standards of decency that mark the progress of a

 maturing society.” Rhodes v. California, 452 U.S. 337, 346, 101 S. Ct.

 2392, 2399 (1981) (quoting Trop v. Dulles, 356 U.S. 86, 101, 78 S. Ct.

 590, 598 (1958)).

       To successfully prove a violation of the Eighth Amendment, the

 “inmate must show 1) that the deprivation alleged is ‘objectively


                                      17
Case 9:07-cv-00480-LEK-DEP   Document 77    Filed 07/15/09   Page 18 of 33




 sufficiently serious’... and 2) that the defendant official possessed a

 ‘sufficiently culpable state of mind’ associated with ‘the unnecessary and

 wanton infliction of pain.’” Trammell v. Keane, 338 F.3d 155, 161 (2d Cir.

 2003) (quoting Farmer v. Brennan, 511 U.S. 825, 834, 114 S. Ct. 1970,

 1977 (1994)). The required culpable state of mind of the prison official is

 one of deliberate indifference. Farmer, 511 U.S. at 834, 114 S. Ct. at

 1977; Trammell, 338 F.3d at 162; Bolton v. Goord, 992 F. Supp. 604, 626

 (S.D.N.Y. 1998). The prison official must know that the inmate faces “a

 substantial risk of serious harm and [must disregard] that risk by failing to

 take reasonable measures to abate it.” Bolton, 992 F. Supp. at 626

 (quoting Farmer, 511 U.S. at 847, 114 S. Ct. at 1984)).

       At all times relevant to the complaint, both moving defendants were

 supervisory DOCS employees. Liability under 42 U.S.C. § 1983 for a

 constitutional deprivation cannot be founded solely on a defendants’

 position as a supervisor; “supervisory liability in a § 1983 action depends

 on a showing of some personal responsibility, and cannot rest on

 respondeat superior.” Richardson v. Goord, 347 F.3d 431, 435 (2d Cir.

 2003) (quoting Hernandez v. Keane, 341 F.3d 137, 144 (2d Cir. 2003),

 cert denied, 534 U.S. 1093, 125 S. Ct. 971 (2005)). Personal involvement


                                       18
Case 9:07-cv-00480-LEK-DEP   Document 77     Filed 07/15/09   Page 19 of 33




 of a supervisor may be found, however, if the evidence shows that

       1) the defendant participated directly in the alleged constitutional
       violation, 2) the defendant, after being informed of the violation
       through a report or appeal, failed to remedy the wrong, 3) the
       defendant created a policy or custom under which unconstitutional
       practices occurred, or allowing the continuance of such a policy or
       custom, 4) the defendant was grossly negligent in supervising
       subordinates who committed the wrongful acts, or 5) the defendant
       exhibited deliberate indifference to the rights of inmates by failing to
       act on information indicating that unconstitutional acts were
       occurring.

 Colon v. Coughlin, 58 F.3d 865, 873 (1995) (quoting Wright v. Smith, 21

 F.3d 496, 501 (2d Cir. 1994)).

       With respect to defendant Artus, plaintiff alleges that prior to the

 assault information was shared with the superintendent concerning

 incidents of inmates being attacked by guards, and that despite that

 knowledge Artus failed to take appropriate and meaningful remedial

 measures. Brown Decl. (Dkt. No. 68) ¶ 3. In his opposition to defendants’

 motion, plaintiff produced excerpts of minutes from prison Inmate Liaison

 Committee (“ILC”) meetings dated December 28, 2006, April 3, 2007 and

 July 27, 2007, all apparently attended by Superintendent Artus, during

 which the numerous complaints received from inmates relating to

 assaults, disrespect, and the use of profanity by officers was discussed.

 Plaintiff’s Exhs. (Dkt. No. 68-2), Exhs. A-C. The minutes for the

                                       19
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 20 of 33




 December 28, 2006 ILC meeting reveal that the superintendent was

 advised of a “dangerous atmosphere” with inmates experiencing assaults,

 disrespect, profanity, and corrections officers failing to follow established

 procedures. Id., Exh. A. The ILC minutes also reflect that Superintendent

 Artus acknowledged receipt by members of his executive team of

 numerous complaints and letters from the inmate population regarding the

 alleged abuses. Id. Those minutes reveal the superintendent’s

 awareness of potential misconduct by DOCS employees, as well as his

 response that “physical, mental and verbal abuse is inappropriate and will

 not be condoned. All allegations of this type will be thoroughly

 investigated and responded to appropriately.” Id.

       In a declaration given in support of defendants’ motion,

 Superintendent Artus states that he is unaware of any recurring assaults

 by staff on inmates in the Upper F Block or in the rotunda. Artus Decl.

 (Dkt. No. 67-6) ¶ 27. There is evidence, however, to suggest that

 defendant Artus was or reasonably should have been aware of such

 occurrences, at least as of July 27, 2007; during an ILC executive board

 meeting on that date a rise in the number of complaints of staff abuse in

 that area was noted, with the superintendent indicating that his


                                       20
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 21 of 33




 administration “would also like to have cameras in the Upper-F Rotunda

 and B-block Frisker as well as other areas; however, at this time to do so

 is cost prohibited.” Plaintiff’s Exhs. (Dkt. No. 68-2) Exh. C. And, while

 that meeting was held several months after the alleged beating of plaintiff,

 drawing all inferences in Brown’s favor a reasonable factfinder could

 conclude that defendant Artus possessed the requisite knowledge of

 potential staff abuses and, at the very least, was grossly negligent in

 carrying out his duties as the facility superintendent by not taking

 appropriate measures to avoid such staff misconduct. I therefore

 recommend that the portion of defendants’ partial summary judgment

 motion seeking dismissal of plaintiff’s Eighth Amendment claim as against

 defendant Artus be denied.

       Turning to plaintiff’s Eighth Amendment claims against defendant

 Minogue, I also note the existence of evidence from which a reasonable

 jury could find the requisite personal involvement on his part. As was

 previously noted, during his deposition plaintiff testified to having been told

 by defendant Menard that he had been sent by Minogue to assault Brown,

 in response for the LaBonte grievance. Under the circumstances, and for

 the same reasons that were discussed with regard to plaintiff’s retaliation


                                       21
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 22 of 33




 claim, I conclude that triable issues of material fact exist concerning

 whether defendant Minogue was sufficiently involved in conduct giving rise

 to plaintiff’s Eighth Amendment claim to be exposed to liability.

       E.    Qualified Immunity

       In addition to challenging plaintiff’s claims against them on the

 merits, defendants Artus and Minogue also assert their entitlement to

 qualified immunity from suit.

       Qualified immunity shields government officials performing

 discretionary functions from liability for damages “insofar as their conduct

 does not violate clearly established statutory or constitutional rights of

 which a reasonable person would have known.” Harlow v. Fitzgerald, 457

 U.S. 800, 818, 102 S. Ct. 2727, 2738 (1982) (citations omitted).

 Accordingly, governmental officials sued for damages “are entitled to

 qualified immunity if 1) their actions did not violate clearly established law,

 or 2) it was objectively reasonable for them to believe that their actions did

 not violate such law.” Warren v. Keane, 196 F.3d 330, 332 (2d Cir. 1999)

 (citing Salim v. Proulx, 93 F.3d 86, 89 (2d Cir. 1996)); see also Zellner v.

 Summerlin, 494 F.3d 344, 367 (2d Cir. 2007); Iqbal v. Hasty, 490 F.3d

 143,152 (2d Cir. 2007), rev’d on other grounds Ashcroft v. Iqbal, ___ U.S.


                                       22
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 23 of 33




 ___, 129 S. Ct. 1937 (May 18, 2009). The law of qualified immunity seeks

 to strike a balance between overexposure by government officials to suits

 for violations based upon abstract rights and an unduly narrow view which

 would insulate them from liability in connection with virtually all

 discretionary decisions. Locurto v. Safir, 264 F.3d 154, 162-63 (2d Cir.

 2001); Warren, 196 F.3d at 332. As the Second Circuit has observed,

             [q]ualified immunity serves important interests in our
             political system, chief among them to ensure that
             damages suits do not unduly inhibit officials in the
             discharge of their duties by saddling individual officers
             with personal monetary liability and harassing litigation.

 Provost v. City of Newburgh, 262 F.3d 146, 160 (2d Cir. 2001) (internal

 quotations omitted) (citing, inter alia, Bivens v. Six Unknown Named

 Agents of the Fed. Bureau of Narcotics, 456 F.2d 1339, 1348 (2d Cir.

 1972)).

       Until recently, it was generally agreed that a proper qualified

 immunity analysis entailed a three step inquiry. Harhay v. Town of

 Ellington Bd. of Educ., 323 F.3d 206, 211-12 (2d Cir. 2003). As a

 threshold matter a court considering the issue was charged with first

 determining whether, based upon the facts alleged, the plaintiff had

 facially established a constitutional violation. Id.; Gilles v. Repicky, 511


                                        23
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 24 of 33




 F.3d 239, 243-44 (2d Cir. 2007). If the answer to this inquiry was in the

 affirmative, then the focus turned to whether the right in issue was clearly

 established at the time of the alleged violation. Id. (citing Saucier v. Katz,

 533 U.S. 194, 201-02, 121 S. Ct. 2151, 2156 (2001)); see also Poe v.

 Leonard, 282 F.3d 123, 132-33 (2d Cir. 2002). Finally, upon determining

 that the plaintiff had a clearly established, constitutionally protected right

 which was violated, the court next considered whether it was nonetheless

 objectively reasonable for the defendant to believe that his or her action

 did not abridge that established right. Harhay, 323 F.3d at 211; Poe, 282

 F.3d at 133 (quoting Tierney v. Davidson, 133 F.3d 189, 196 (2d Cir.

 1998) (quoting, in turn, Salim, 93 F.3d at 89)).

       The United States Supreme Court recently had the opportunity to

 reconsider the analysis prescribed by Saucier, holding that while the

 sequence of the inquiry set forth in that case is often appropriate, it should

 no longer be regarded as compulsory. Pearson v. Callahan, 555 U.S.

 ___, 129 S. Ct. 808, 2009 WL 128768, at *9 (Jan. 21, 2009). In Pearson,

 the Court reasoned that while the Saucier protocol promotes the

 development of constitutional precedent and is “especially valuable with

 respect to questions that do not frequently arise in cases in which a


                                        24
Case 9:07-cv-00480-LEK-DEP     Document 77     Filed 07/15/09   Page 25 of 33




 qualified immunity defense is unavailable,” the rigidity of the rule comes

 with a price. Id. at *10. The inquiry often wastes both scarce judicial and

 party resources on challenging questions that have no bearing on the

 outcome of the case. Id. Given that the purpose of the qualified immunity

 doctrine is to ensure that insubstantial claims are resolved prior to

 discovery, the Court opined that the algorithm prescribed by Saucier may

 serve to defeat this goal by requiring the parties “to endure additional

 burdens of suit – such as the cost of litigating constitutional questions and

 delays attributable to resolving them – when the suit otherwise could be

 disposed of more readily.” Id. (quotations and citations omitted).

       As a result of its reflection on the matter, the Pearson Court

 concluded that because the judges of the district courts and courts of

 appeals “are in the best position to determine the order of decisionmaking

 [that] will best facilitate the fair and efficient disposition of each case”,

 those decision makers “should be permitted to exercise their sound

 discretion in deciding which of the... prongs of the qualified immunity

 analysis should be addressed first in light of the circumstances of the

 particular case at hand.” Id. at *9. In other words, as recently

 emphasized by the Second Circuit, the courts “are no longer required to


                                         25
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 26 of 33




 make a ‘threshold inquiry’ as to the violation of a constitutional right in a

 qualified immunity context, but we are free to do so.” Kelsey v. County of

 Schoharie, 567 F.3d 54, 61 (2d Cir. 2009) (citing Pearson, 129 S. Ct. at

 821) (emphasis in original). “The [Saucier two-step] inquiry is said to be

 appropriate in those cases where ‘discussion of why the relevant facts do

 not violate clearly established law may make it apparent that in fact the

 relevant facts do not make out a constitutional violation at all.’” Id. (quoting

 Pearson, 129 S. Ct. at 818).

       The rights at stake in this action – to be free of unlawful retaliation

 for having engaged in protected activity and not to be exposed to cruel

 and unusual punishment – were clearly established at the relevant times.

 When the record is considered in a light most favorable to the plaintiff with

 all inferences drawn in his favor, the question of whether it could be

 concluded that it was objectively reasonable for defendants to believe they

 were acting in a manner that did not violate those established, federally

 protected rights, hinges upon the resolution of the same fact issues that

 serve as impediments to granting defendants’ motion for summary

 judgment on the majority of the claims against defendants Artus and

 Minogue. Until those issues are resolved, the question of qualified


                                        26
Case 9:07-cv-00480-LEK-DEP      Document 77    Filed 07/15/09   Page 27 of 33




 immunity cannot be determined. Accordingly, I find that at this juncture it

 is premature to determine whether either of the two moving defendants is

 entitled to qualified immunity from suit.

          F.    Plaintiff’s Motion for Sanctions

          In response to defendants’ motion for partial summary judgment,

 plaintiff has moved for sanctions against Superintendent Artus. In support

 his motion, plaintiff contends Artus has failed to “act honestly”, in violation

 of Rule 11 of the Federal Rules of Civil Procedure, by including in his

 declaration in support of the summary judgment motion a statement that is

 false.

          Rule 11(b) provides, in pertinent part, that

          [b]y presenting to the court a pleading, written motion, or other paper
          - whether by signing, filing, submitting, or later advocating it - an
          attorney or unrepresented party certifies that to the best of the
          person’s knowledge, information, and belief, formed after an inquiry
          reasonable under the circumstances:

                (1) it is not being presented for any improper purpose, such as
                to harass, cause unnecessary delay, or needlessly increase
                the cost of litigation;

                (2) the claims, defenses, and other legal contentions are
                warranted by existing law or by a nonfrivolous argument for
                extending, modifying, or reversing existing law or for
                establishing new law;

                (3) the factual contentions have evidentiary support or, if

                                          27
Case 9:07-cv-00480-LEK-DEP       Document 77     Filed 07/15/09    Page 28 of 33




              specifically so identified, will likely have evidentiary support
              after a reasonable opportunity for further investigation or
              discovery; and

              (4) the denials of factual contentions are warranted on the
              evidence or, if specifically so identified, are reasonably based
              on belief or a lack of information.

 Fed. R. Civ. P. 11(b)(1-4). “Rule 11 permits a court to impose sanctions

 upon attorneys, law firms, or parties for making or causing to be made

 certain improper representations to the court.” Salovaara v. Eckert, III,

 222 F.3d 19, 32-33 (2d Cir. 2000).8 In the Second Circuit,

       sanctions shall be imposed against an attorney and/or his
       client when it appears that a pleading has been interposed for
       any improper purpose, or where, after reasonable inquiry, a
       competent attorney could not form a reasonable belief that the
       pleading is well grounded in fact and is warranted by existing
       law or a good faith argument for extension, modification or
       reversal of existing law.

 Eastway Constr. Corp. v. City of New York, 762 F.2d 243, 254 (2d Cir.

 1985), cert. denied, sub nom. City of New York v. Eastway Constr. Corp.,

 484 U.S. 918, 108 S.Ct. 269 (1987) (Emphasis in original). Under Rule 11

 sanctions may be imposed upon a represented party when the party “had

 actual knowledge that the filing of the papers constituted wrongful


       8
          The court cannot order sanctions for violation of Rule 11 (b)(2) against a
 represented party. Baffa v. Donaldson, 222 F.3d 52, 57, (2d Cir. 2000). However,
 both a represented party and his attorney may be sanctioned under Rule 11(b)(3).
 Chien v. Skystar Bio Pharmaceutical Co., 256 F.R.D. 67, 72 (D. Conn. 2009).

                                           28
Case 9:07-cv-00480-LEK-DEP   Document 77   Filed 07/15/09   Page 29 of 33




 conduct, e.g. the papers made false statements or was filed for an

 improper purpose,” and on an attorney where he or she has failed to

 conduct a reasonable inquiry to verify the validity of a claim. Calloway v.

 Marvel Entertainment Group, 854 F.2d 1452, 1474 (2d Cir. 1988), rev’d on

 other grounds sub nom. Pavelic & LeFlore v. Marvel Entertainment Group,

 493 U.S. 120, 110 S. Ct. 456 (1989).

       Having reviewed the documents cited by plaintiff in support of his

 motion for sanctions, however, I am not convinced that plaintiff has

 established a proper basis for an award of sanctions. Indeed, I am unable

 to conclude that a contradiction exists between the cited portion of the

 Artus declaration and the ILC minute entry. In his declaration,

 Superintendent Artus has asserted, in relevant part, his unawareness “of

 recurring assaults by staff upon inmates in Clinton’s upper-F block or the

 rotunda.” Artus Decl. (Dkt. No. 67-6) ¶ 27. The declaration does not

 purport to deny knowledge of complaints by inmates of such incidents.

 The document offered by plaintiff as allegedly contradicting the

 superintendent’s assertion, consisting of ILC minutes of a meeting held on

 July 27, 2007, apparently attended by defendant Artus, merely reports “a

 rise in the number of inmate complaints about staff abuse. . ..”, without


                                      29
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 30 of 33




 indicating whether any have been found to be substantiated. Plaintiff’s

 Exhs. (Dkt. No. 68-2) Exh. C (emphasis added). As noted above, the ILC

 minutes reveal the superintendent’s awareness of potential misconduct by

 DOCS employees; they do not, however, unequivocally establish that

 recurring assaults by staff upon inmates had actually occurred prior to the

 alleged assault upon plaintiff. The statements in the Artus declaration and

 the ILC minutes, therefore, are not necessarily contradictory.

       Plaintiff admits as much, characterizing Artus’ declaration as vague,

 in addition to false, and, more importantly, asserting in his affidavit that he

 “has raised the inference that defendant Artus did, in fact, have

 information that unconstitutional acts were occurring . . ..” Plaintiff’s

 Motion for Sanctions (Dkt. No. 72) ¶ 2 and 3. At most, plaintiff has

 identified a potential inconsistency in defendant’s position. In this regard,

 it should be noted that the submission of inconsistent statements alone is

 insufficient to establish that a statement was false, or was filed for an

 improper purpose. See Homkov v. Musika Records, Inc., No. 04 Civ.

 3587, 2009 WL 721732, at *23 (S.D.N.Y. Mar. 18, 2009) (Wood, J.)

 (distinguishing inconsistencies from intentional lies for the purposes of

 sanctions under 18 U.S.C. § 1927).


                                        30
Case 9:07-cv-00480-LEK-DEP    Document 77    Filed 07/15/09   Page 31 of 33




       Here, the evidence in the record is insufficient to unequivocally

 establish that any statements made by Artus were false. Under these

 circumstances, I recommend denial of plaintiff’s motion for sanctions.

 IV.   SUMMARY AND RECOMMENDATION

       From a careful review of the record in this case, conducted in light of

 defendants’ arguments but drawing all inferences and resolving all

 ambiguities in favor of the plaintiff, I can find no evidence to support

 plaintiff’s claims that defendant Artus was personally involved in the

 conduct giving rise to Brown’s claim of retaliation, and therefore

 recommend dismissal of that claim as against that defendant. I further

 recommend, however, that the balance of defendants’ motion be denied,

 finding the existence of genuine issues of material fact concerning

 whether defendant Artus was aware of but failed to take appropriate

 measures to preclude staff abuse of inmates, and regarding defendant

 Minogue’s awareness of and participation in the allegedly retaliatory

 assault upon plaintiff. Turning to plaintiff’s motion for sanctions, based

 upon the record currently before the court, I find no evidence establishing

 that defendants have submitted false statements to the court or engaged

 in conduct sufficient to support imposition of sanctions.


                                       31
Case 9:07-cv-00480-LEK-DEP     Document 77    Filed 07/15/09   Page 32 of 33




       Accordingly, it is hereby respectfully

       RECOMMENDED that defendants’ motion for partial summary

 judgment (Dkt. No. 67) be GRANTED, in part, and that plaintiff’s first

 cause of action, alleging unlawful retaliation in violation of the First

 Amendment, be DISMISSED as against defendant Artus, but that

 defendants’ motion otherwise be DENIED; and it is further

       RECOMMENDED that plaintiff’s motion for sanctions (Dkt. No. 72)

 be DENIED.

       Pursuant to 28 U.S.C. § 636(b)(1), the parties have ten days within

 which to file written objections to the foregoing report. Such objections

 shall be filed with the Clerk of the Court. FAILURE TO OBJECT TO THIS

 REPORT WITHIN TEN DAYS WILL PRECLUDE APPELLATE REVIEW.

 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a), 6(e), 72; Roldan v. Racette,

 984 F.2d 85 (2d Cir. 1993).




                                        32
Case 9:07-cv-00480-LEK-DEP   Document 77   Filed 07/15/09   Page 33 of 33




 It is further ORDERED that the Clerk of the Court serve a copy of this

 report and recommendation upon the parties in accordance with this

 court’s local rules.




 Dated:      July 15, 2009
             Syracuse, NY




                                     33
